                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 IAN HUNTER LUCAS,

        Plaintiff,
                                                      Case No. 3:24-cv-00440
 v.
                                                      Judge Waverly D. Crenshaw, Jr.
 MARY ANN JESSEE, et al.                              Magistrate Judge Alistair E. Newbern

        Defendants.


                                              ORDER

       The undersigned Magistrate Judge held a telephone conference with pro se Plaintiff Ian

Hunter Lucas and counsel for the named defendants in this action on May 22, 2024. For the reasons

discussed in the conference, and with the agreement of the parties, the Court ORDERS as follows:

       Lucas shall file an amended motion to amend his complaint accompanied by a proposed

amended pleading by June 5, 2024. Defendants shall file any response in opposition to Lucas’s

motion no later than 14 days after service of the motion. Lucas may file an optional reply brief no

later than 7 days after service of the response.

       All other responsive deadlines remain STAYED until the Court has addressed Lucas’s

anticipated motion to amend the complaint.

       It is so ORDERED.



                                                        ____________________________________
                                                        ALISTAIR E. NEWBERN
                                                        United States Magistrate Judge




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